                                   CASE 0:20-cr-00076-PAM-TNL Doc. 3 Filed 03/19/20 Page 1 of 1
ARW:cjn
AO 442 (Rev. 11/11) Arrest Wanant                                                                                                      2020R00041



                                        Uxrrpo Srarps Drsrmcr                             CoITRT
                                                                    for the

                                                             District of Minnesota
      UMTED STATES OF AMERICA

                              v.

      MUI{AMMAD MASOOD


                                                             ARREST WARRANT
To:            Any authorizedlaw enforcement officer

          YOU ARE COMMANDED to a:rest and bring before a United States magistrate judge without unnecessary delay
(name of person to be       arrested) MIIIIAMMAD       MASOOD,
who is accused of an offlense or violation based on the followine document filed with the court:

          Indictment                Superseding lndictnent        lnformation         Supersedinglnformation        X      Complaint
          Probation Violation Petition                        Release Violation Petition        Violation Notice            Order of the Court

  -                                    -Supervised                             -                 -
       On or about MarchIg,2020, in Hennepin County, in the State and District of Minnesota, defendant attempted to
       provide material support to a designated foreign terrorist organization        ,




       in violation of Title 18, United States Code, Section(s) 23398.

                    //             n'
      Date:      3''?
                    /t

      City and State: Minneapolis. MN                                     The Honorable David T. Schultz
                                                                          United States Masistrate Judse
                                                                                                 Printed Name and Title




                                                                      Return

               This warrant was received on 6ate)                             , and the person was arrested on   (date)
    at (city   and state)




                                                                                                  Printed name and title




                                                                                                                      MAR     le 2020
                                                                                                                 U.S. DISTRICT   CUUfii MPLS
